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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

AMERICA FIRST FOUNDATION,

                      PLAINTIFF,               Case No. 24-cv-12684

-vs-                                           Hon. DENISE PAGE HOOD

CLAY STREET ENTERTAINMENT,
LLC,

                     DEFENDANT,
                                              /

       DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT AND
                    AFFIRMATIVE DEFENSES

       Defendant, CLAY STREET ENTERTAINMENT, LLC, by and through its

counsel, BEN GONEK and JAMES GEROMETTA, hereby submits the following

Answer to Plaintiff’s Complaint, along with Defendant’s Affirmative Defenses:

                   ANSWER TO PLAINTIFF’S COMPLAINT

                                 I.   INTRODUCTION

   1. Admit Plaintiff has filed suit against Defendant. Deny that Plaintiff suffered

       injury as a result of Defendant’s actions. Deny that Defendant had a contractual

       obligation to Plaintiff. Deny that there was a “last minute cancellation” of any

       contractual obligation.




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                                    II.   PARTIES

 2. Defendant lacks knowledge or information sufficient to admit or deny the

    allegations of this paragraph and leaves Plaintiff to its proofs.

 3. Admit.

                        III.     JURISDICTION AND VENUE

 4. Deny the dispute involves over $75,000.

 5. Admit, except to the allegation that misconduct occurred. Admit personal

    jurisdiction.

 6. Admit venue is proper if subject matter jurisdiction is established and leaves

    Plaintiff to its proofs.

                           IV.    STATEMENT OF FACTS

 7. Defendant lacks knowledge or information sufficient to admit or deny the

    allegations of this paragraph and leaves Plaintiff to its proofs.

 8. Defendant lacks knowledge or information sufficient to admit or deny the

    allegations of this paragraph and leaves Plaintiff to its proofs.

 9. Defendant lacks knowledge or information sufficient to admit or deny the

    allegations of this paragraph and leaves Plaintiff to its proofs.

 10. Defendant lacks knowledge or information sufficient to admit or deny

    Deborah Kanter’s status relative to Show Ready Technologies, Inc. and leaves

    Plaintiff to its proofs. Admit that Deborah Kanter communicated with

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    Defendant to secure the venue. Deny she communicated that the venue was to

    be used for the 2024 America First Political Action Conference.

 11. Admit.

 12. Deny that either Kory Miller or Nicholas Fuentes was transparent about the

    nature of the planned event. Admit that a written rental agreement was

    provided for Show Ready Technologies, Inc.’s signature.

 13. Deny that an agreement was entered into. Admit $7,198 was sent to

    Defendant.

 14. Admit a walkthrough was conducted. Deny that the nature of the speaking

    engagement was “palpably clear.”

 15. Deny that Plaintiff was an intended third-party beneficiary of the contract.

 16. Deny.

 17. Admit.

 18. Deny.

 19. Defendant lacks knowledge or information sufficient to admit or deny the

    allegations of this paragraph and leaves Plaintiff to its proofs.

 20. Admit.

 21. Admit that on June 14, 2024, it was necessary to call the police due to

    Plaintiff’s trespass.

 22. Deny that there was a contractual obligation.

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 23. Admit that the Detroit News Published the referenced story. Deny that the

    purported factual representations were detestable lies. Deny the remaining

    factual allegations in the paragraph.

 24. (a-f) Defendant lacks knowledge or information sufficient to admit or deny

    the damage allegations of these subparagraphs and leaves Plaintiff to its proofs.

 25. Deny Plaintiff is liable for any damages.

                             V. CAUSE OF ACTION

                                     COUNT I

                  COMMON LAW BREACH OF CONTRACT

 26.To the extent that a response is required, Defendant incorporates his above

    responses to paragraphs 1-25.

 27. Deny that a valid, enforceable contract exists. Deny that Plaintiff was a third-

    party beneficiary whose identity was known to Defendant.

 28. Deny there was a valid contract. Deny that Defendant breached any contract.

 29. Deny that Plaintiff had not breached any contract.

 30. Deny that Plaintiff suffered injury. Deny that Defendant was the cause of any

    injury.

 31. Deny Defendant is liable.




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                            AFFIRMATIVE DEFENSES

   1. Failure to State Claim: Plaintiff’s allegations are insufficient to constitute a

      cause of action against Defendant upon which relief can be granted.

   2. Statute of Frauds: No signed agreement was entered into by the parties.

   3. No Privy of Contract: There was no contract between Plaintiff and Defendant.

   4. Condition Precedent: Plaintiff or their agent failed to satisfy all conditions

      precedent to obligate Defendant to perform.

   5. Lack of Duty or Obligation: Defendant owed no duty or obligation to Plaintiff

      and is thus not liable for damages.

   6. Failure to Mitigate Damages: Plaintiffs’ claim for damages is barred to the

      extent they have failed, refused and/or neglected to mitigate or avoid the

      damages alleged in the Complaint, if any.

   7. Fraud: Plaintiff and/or its agents made knowingly false misrepresentations.

   8. Failure to Name an Indispensable Party: Plaintiff’s complaint fails to name an

      indispensable party to the suit.

      Defendant asserts these defenses pursuant to Fed. R. Civ. P. 12 (b), but such

defenses may not be exclusive, and Defendant does not concede that it bears any

burden of proof or production with respect to these or other additional defenses that

may arise in the course of this litigation.




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      To the extent permitted under the Federal Rules of Civil Procedure and

applicable case law, Defendant reserves the right to amend these defenses and/or assert

additional defenses or claims that may become known during the course of discovery

and during any other proceeding in this action.

      WHEREFORE, Defendant respectfully requests that the Plaintiff’s Complaint

be dismissed with prejudice, that the Court enter judgment in Defendant’s favor, and

that Defendant be awarded costs and expenses incurred herein, including reasonable

attorneys' fees.



                                       Respectfully Submitted,


                                       /s/ Ben M. Gonek
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Dated: December 10, 2024

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                         CERTIFICATE OF SERVICE

       Ben M. Gonek hereby states that on the 10th day of December 2024, he caused
the foregoing Defendant’s Answer to Plaintiff’s Complaint and Affirmative Defenses
to be filed with the Court and that copies of same were forwarded to all counsel of
record via the CM/ECF system.

                                     /s/ Ben M. Gonek
                                     BEN M. GONEK




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